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                          UNITED STATES OF DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF MICHIGAN


                                          MINUTES
  Case No: 1:22-cv-00304-HYJ-RSK

  Caption: Bozung v. Christianbook, LLC

  Date:                 Time:                          Place:            Magistrate Judge:
  February 16, 2023     11:30 - 11:37 a.m.             Grand Rapids      Hon. Ray Kent

                                          APPEARANCES

    PARTY TYPE:            COUNSEL:                             REPRESENTING:

  PLAINTIFF:        Joseph I. Marchese         Timothy Bozung
                    Gregory A. Mitchell
  DEFENDANT:        Jennifer Chunias           Christianbook, LLC
                    Timothy Bazzle




                                          PROCEEDINGS


  NATURE OF HEARING:

  MOTION HEARING held by video conference regarding Motion to Compel by plaintiff
  Timothy Bozung (ECF No. 36).

  Order to issue.




                                Proceedings Digitally Recorded

                                   Deputy Clerk: S. Carpenter
